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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


       DEBORAH D. PETERSON,
       Personal Representative
       Of The Estate Of
       James C. Knipple (Deceased), et al.
                           Plaintiffs




              v.                                          Civil Action#1:01CV02094(RCL)



       THE ISLAMIC REPUBLIC OF IRAN, et al.
                      Defendants




                            REPORT OF SPECIAL MASTER
                         PURSUANT TO ORDER OF REFERENCE
                    CONCERNING COUNTS DLXXIV THROUGH DLXXVIII

                                     CRAIG JOSEPH SWINSON
                                           CPL USMC


       In accordance with the Order of Reference entered pursuant to the provisions of Federal

Rule 53, the Special Master has received evidence with regard to all issues of compensatory

damages from witnesses as below set forth. This is an action for personal injury resulting from an

act of state-sponsored terrorism.   The following findings of fact are based upon the sworn

testimony and documents entered into evidence in accordance with the Federal Rules of Evidence

and have been established by clear and convincing evidence.
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                                          FINDINGS OF FACT

       (1)    CRAIG JOSEPH SWINSON (Survivor) was born on September 26, 1962 and on

October 23, 1983 he was 21 years of age. He was born and continues to be a United States citizen.

In accordance with the United States Life Tables published by the National Center for Health

Statistics in 2003, a white male 43 – 44 years old can be expected to live 34.9 years.

       From October 23, 1983 to the present, Craig Swinson has suffered 23 years of severe

physical, psychological and emotional pain and suffering.

       Solatium Claim – Public Law 104-208, Division A Title I, Section 101 (c). The testimony

and exhibits outline the emotional injury inflicted upon Craig Swinson, his wife and child, his

parents, and siblings.

       Craig Joseph Swinson is on of six (6) children of Kenneth J. Swinson (Deceased) and Ingrid

M. Swinson (Deceased). Craig Swinson is married and has one child, a daughter, and he resides

with his wife and child.

       On October 23, 1983, Craig Swinson was 21 years of age and was serving in the United

States Marine Corps, Charlie Company, 1st Platoon, 1st Battalion, 8th Marine Regiment, 2nd Marine

Division assigned to the 24th Marine Amphibious Unit in Beirut Lebanon. On October 23, 1983,

the building housing the Marine Battalion at Beirut was attacked by a suicide bomber operating a

truck which penetrated to the center of the building where the operator detonated a large explosive

charge completely collapsing the building resulting in the deaths of 241 American Service

personnel and wounding almost every other Marine in and near the building.

       The testimony of Craig Swinson and the exhibits and records available conclusively prove

that on the morning of October 23, 1983, Craig Swinson had completed his tour of guard duty at

6:00 A.M. when the terrorist explosion destroyed the BLT Headquarters Building at the Beirut




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Airport. Craig Swinson was ordered to the blast site and first participated in the rescue and

attempted rescue of trapped Marines, then the movement of injured Marines for medical treatment.

Then Craig Swinson was directed to assist in the recovery and movement of the bodies of Marines

killed in the explosion. Craig Swinson was then ordered to assist in the recovery of human body

parts at the blast site.

                   The testimony of Cydia Shaver, Dawn Swinson, Teresa Swinson, William

Swinson and Daniel Swinson consistently indicated that prior to his deployment to Beirut Craig

Swinson was an outgoing teenager with a large group of friends who enjoyed participating in social

events who enjoyed people. When Craig returned from Beirut his personality and emotional health

had fundamentally changed. Craig Swinson and every one of his brothers and sisters testified that

Craig Swinson has a problem with anger management. Craig Swinson testified that he understands

he has this problem and tries to control it. Craig Swinson’s brothers and sisters testified that after

his return from Beirut their brother has become introverted, does not socialize with his former

friends, and rarely socializes with his family. Craig Swinson’s brothers and sisters believe he

suffers from depression and suffers from Post-Traumatic Stress Disorder. Craig Swinson’s brothers

and sisters believe that their brother would be helped if he sought professional psychiatric

assistance. From October 23, 1983 to the present, 23 years, Craig Swinson has continuously

suffered severe physical and emotional injury as a direct result of his experiences at Beirut on

October 23, 1983 and thereafter. That Craig Swinson suffered and continues to suffer severe

psychological and psychiatric emotional illness from that experience. It is noted that in regard to

the continuing pain and suffering from Craig Swinson’s Beirut experience the psychiatric,

psychological, and emotional injuries are not of a life shortening type.




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       As a result of the terrorist explosion Craig Swinson, his parents and his surviving siblings

have suffered and will continue to suffer severe mental anguish and the loss of society. The

testimony established that Craig Swinson, his parents, and siblings have never recovered from the

shock and all have suffered severe emotional trauma from Craig Swinson’s psychiatric and

psychological illness. Craig Swinson participated in the 20th remembrance ceremony and is a

vigorous supporter of the Beirut veterans.

       Craig Swinson and his siblings were raised in Des Plaines, Illinois, and Craig graduated

from high school in 1980. Craig Swinson’s brothers and sisters testified that their brother did well

in school, participated in high school sports, and was very popular in high school. Craig’s brother,

William, also testified that his brother was a tough guy with an attitude in high school. Craig

Swinson testified that he began to consider joining the Marine Corps in his senior year of high

school and he was deeply influenced by his father’s prior service in the Marine Corps and his

father’s large group of Marine Corps friends. Craig also testified that he also joined the Marine

Corps to prove himself.

       Craig’s father was strict and ran an organized house. All the siblings remembered how

proud their father was of his Marine Corps service and they all testified as to how proud their

mother and father were that Craig joined the Marine Corps.

       Craig Swinson completed boot camp in San Diego, California, and his siblings pooled their

money to pay for their parents’ transportation and expenses to attend Craig’s graduation. After

basic training, Craig Swinson was assigned to infantry training and he graduated at the top of his

class. In recognition of that achievement he was assigned to barracks duty in Guantanamo Bay.

After that tour of duty Craig Swinson was assigned to the 1st Platoon, 1st Battalion, 8th Marine




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Regiment, 2nd Marine Division at Camp Le Jeune where he was assigned to the 24th MAU in 1983

and deployed to Beirut, Lebanon.

       Craig Swinson served in the infantry and he was also trained as a supply vehicle driver.

Craig Swinson was first assigned to guard duty at Beirut University and then his Unit was rotated

to the north and then south end of the Beirut airport. Craig Swinson recalled that Beirut began to

get very dangerous when the Israeli troops withdrew and U.S. Marines began to come under direct

fire. Craig testified that his Unit took heavy fire on his birthday, September 26th, and he testified

that he was came under hostile fire when he was on duty on both the south and north ends of the

airfield. Craig Swinson recalled that the hostile fire was so intense that for two to three day periods

he was unable to leave his bunker.

       On October 23, 1983 Craig Swinson was on guard duty at the south end of the airfield from

midnight to 6:00 AM. At 6:00 A.M. he was talking to his relief and he heard a huge explosion and

15 minutes later the MAU Commander sent an urgent radio message to his unit requesting

immediate troop assistance at the BLT Headquarters. Craig Swinson was directed to report to that

location.

       When Craig arrived at the Headquarters Building, he found the building destroyed and a

huge crater remained in its place. He testified the entire area was littered with building debris and

human body parts. Parts of his fellow Marines were hanging from trees and the ground was littered

with clothing, body parts, and paper. The entire site was dust and smoke filled. Craig Swinson

immediately began to assist in rescue and movement of injured Marines. Later Craig Swinson was

ordered to assist in the recovery and movement of the bodies of dead Marines. Then he was

ordered to look for and recover human body parts around the blast site. Craig Swinson recalled

recovering human torsos, severed legs, arms, fingers, and other organs.




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       Craig Swinson recounted his horrible recollections of this experience, he testified that two

members of his platoon were killed in the explosion and he lost nearly twenty close friends. Craig

Swinson was troubled that some of his friends who were killed were recently married and would

never see their wives again or meet their children that were born after their deployment. By all

accounts, Craig Swinson began to experience severe emotional injury in December 1983,

immediately after the terrorist explosion. Craig Swinson’s siblings each testified that they believe

their brother experienced a fundamental and profound personality change and emotional trauma

after the Beirut attack.    Each testified that they believe their brother would benefit from

professional psychiatric and psychological treatment; and each testified that they believe that their

brother suffers from Post-Traumatic Stress Disorder which began in December 1983 and has

continued to the present time. Craig Swinson has chosen not to seek medical assistance for his

medical problem.

       When Craig Swinson returned from Beirut and visited his family on leave they all noticed

his personality had changed. At the end of this leave, in December 1983, Craig Swinson said good-

bye to his family and returned to Camp LeJeune to complete his active duty. Sometime after Craig

left for Camp LeJeune one of Craig’s sisters was shopping in Toys-R-Us and found her brother

working in the store. Craig Swinson did not return to Camp LeJeune after his leave but choose to

go Absent Without Leave “AWOL.” Craig Swinson made this decision and hid it from his family.

When his sisters and mother spoke to him about this decision Craig Swinson told them that he

didn’t want to be deployed again. His mother and sisters testified that with their help he returned to

active duty and was subsequently discharged.

       Craig Swinson’s brothers and sisters testified that their brother has almost never spoken to

them about his Beirut experience. He has never shared his experiences of trying to rescue fellow




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Marines, moving dead Marines, and picking up their body parts. Craig Swinson testified that he

has considered suicide. Craig is often depressed and he cries when he thinks about the attack and

thinks about his fellow Marines who were killed. Craig Swinson testified that he is unable to sleep

normally and wakes up every couple of hours.

       October 23, 1983 Craig Swinson was the Senior Lance Corporal and was assigned to mess

duty at the BLT Headquarters. He recalls that he went to his superior and advised that as the

Senior Lance Corporal he shouldn’t be required to serve on mess duty. Craig feels guilty that the

replacement that was chosen was at the blast site. In addition to these guilt feelings, Craig Swinson

testified that he has flashbacks. He believes no one cares about the Beirut veterans and he is upset

that the Beirut veterans have been denied a postage stamp because the Beirut attack is considered to

be an insignificant event.

       Craig Swinson remembers his experience in Beirut. He attended the 20th anniversary

remembrance and he has spoken to many fellow Beirut survivors. He testified that the 20th

anniversary remembrance ceremony showed respect to the men who died, many of which he knew.

At the 20th anniversary he learned the full extent of the Marine losses when he found the names of

his friends who were killed in Beirut on the memorial; until that time he did not know they were

killed. Craig Swinson testified that he tries to protect his wife and daughter from his experience in

Beirut. He “flies off the handle easily” but he tries to keep himself under control with his family

and he tries to hide his feelings and emotions from them.

       Taken together, the emotional and physical consequences of the Hezbollah bombing on

Craig Swinson are severe and chronic and have severely diminished his quality of life.

       (2)    KENNETH J. SWINSON (Deceased), father of Craig Swinson, died on August 7,

1998. Kenneth Swinson served in the Marine Corps for 14 years and was proud of that service and




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maintained close friendships with the men who served with him. He maintained membership in

Veteran organizations and participated in parades honoring veterans. Every one of the Swinson

siblings testified that they were raised in a military family and their father shared many stories with

his family about his humorous experiences in the Marine Corps. Dawn Swinson testified that her

father was a joker and he spoke of fun experiences in Marine Corps and Korea; he did not discuss

serious stuff.

        On October 23, 1983, Kenneth Swanson was not at his home with his family in Des Plaines,

Illinois, but was with friends preparing the cabin “up north” for the cold season ahead. At 2:00

A.M., while playing cards, Kenneth Swinson heard the first reports of the explosion and

immediately returned home with one of his friends who also had a son stationed in Beirut. When

Kenneth Swinson returned home on October 23, 1983, he called the local recruiter, numerous

military contacts, and the Assistant Secretary of the Navy for any information on his son. Cydia

Swinson recalled that this was the only time she ever saw her father “break-down.” William

Swinson testified that his father was so upset that he was unable to tie his own shoelaces.

        The Swinson family never received any notification from the Marine Corps and no one in

the Swinson family knew whether Craig was alive or dead through Wednesday following the blast.

Craig wrote a letter to his father a week before the blast and asked his father to buy him an airline

ticket so that he could get home for Christmas. On Thursday morning Craig’s father purchased that

ticket not knowing whether his son was alive or dead. On Thursday Craig Swinson made a short

phone call telling his family he had survived.

        Cydia testified that her father changed after the Beirut bombing. Her father was a proud

Marine but Cydia felt he wouldn’t want another son to go into the Marine Corps.




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        William Swinson testified that prior to October 23, 1983, their father would always sit in

his regular chair and watch TV with his children. After October 23rd their father changed and no

longer sat with his children, rather he sat by himself in the kitchen and watched TV by himself.

Cydia explained that Craig and his father were very close and his father’s death was very difficult

for Craig. Dawn Swinson believes that Craig talked to their father about his Beirut experience

prior to their father’s death.

        (3)   INGRID M. SWINSON (Deceased) was Craig Swinson’s mother and died on March

28, 2002. Ingrid Swinson and Kenneth Swinson were the parents of six children, Craig Swinson

being the oldest of their three sons. Even though all the Swinson siblings testified they were from a

military family, Dawn Swinson testified that their mother was quiet, didn’t say much, and was not

a big fan of the Marine Corps.

        On October 23, 1983 Cydia woke up at 6:00 A.M. and found her mother sobbing

hysterically. It took her mother forty-five minutes to explain what had happened. Cydia testified

that her mother sat in front of the TV twenty-four hours a day for four days, refusing to leave the

house, refusing to go to work, just watching the TV news reports all day and night. Dawn Swinson

recalled her mother’s condition after the Beirut bombing as sheer terror. Her mother did not know

what to do.

        After 1983 her Mother was more guarded but, in a way, more outspoken. Cydia testified

that her mother called her and told her that her brother William had graduated from high school and

he had signed up for the Marine Corps. The recruiter was meeting with Bill when her mother told

her and her father to help her stop Bill from enlisting. Her mother did everything to stop Bill’s

enlistment. Cydia was ready to argue with her father and Bill but her father agreed that Bill should

not join the Marines and Bill did not enlist.




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       (4)    CYDIA SHAVER is the oldest of the Swinson siblings. Cydia testified that she was

close to her brother Craig and he told her he didn’t know what he was going to do after he

graduated from high school. Cydia testified that Craig admired his father and Craig wanted to

make his father proud of him so he joined the Marine Corps and planned to attend college after his

tour of service.

       Cydia testified that Craig had a close relationship with both their mother and father. Craig

also had a close relationship with each of his brothers. After their brother joined the Marine Corps

his brothers and sisters kept track of his progress and kept in contact by telephone. When Craig

came home on leave prior to his Beirut deployment, Cydia recalled that Swinson family watched

the TV news coverage and concluded that Craig was going on a peacekeeping mission so there

would be no problem. Cydia and Craig exchanged letters while he was in Beirut and Craig told

Cydia that people were shooting at him. Cydia wrote Craig once a week, sent him a Christmas

tree, baked cookies for him, and wrote to Craig’s buddies who didn’t get any other letters.

       On October 23, 1983 Cydia testified that her father was out of town and she woke and

found her mother sobbing hysterically at 6:00 AM. Cydia testified it took her mother forty-five

minutes to control herself enough to tell her about the attack in Beirut. On Thursday afternoon the

Swinson family received the first word; a ham radio operator picked up a message that Craig

Swinson survived.

       Cydia testified that before the Beirut bombing Craig was fun loving and after Beirut

bombing he changed and was always working and frugal. Before Beirut he was a social person, he

had many friends, and he went out often. Since Beirut he has become a homebody and has no

contact with people outside of his family.




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       Cydia recalled that after Craig came home on leave after Beirut they though he returned to

his next duty assignment but, instead, his sister found him working in a local Toys-R-Us store. He

told his sisters that he didn’t want to go back and he decided to go Absent-Without-Leave

(AWOL). His mother and sisters took him to Glenview Naval Air Station and he was returned to

active duty.

       Cydia doesn’t believe Craig Swinson is getting better; she feels he has a lot of anger. Her

brother refuses to talk to family members and hasn’t sought professional help. Cydia is hurt that

her brother will not talk to her about his experience in Beirut. Cydia cannot imagine a parent going

through what her parents went through when their son returned home from his military service

forever damaged. Their lives would never be the same. Cydia thinks Craig has a lot of bad

memories; he is not happy and he is a loner. Craig is very easily angered and he worries about

everything. Cydia has spoken to Craig’s wife and she also believes Craig needs counseling.

       (5)     DAWN SWINSON is Craig Swinson’s sister. She attended the same high school as

her brother Craig and she recalled that he was a good student with a large group of friends. Dawn

also testified that Craig Swinson was a happy-go-lucky person who loved to go out and have fun

with friends. Dawn remembers that Craig joined the Marine Corps suddenly, without discussing it

with family. Dawn testified that the Swinson family kept in contact with Craig, her mother wrote

all the time, and Cydia and her mother shared Craig’s letters with the rest of the family.

       Dawn explained that after Craig was discharged from the Marine Corps he and his father

became even closer and Dawn testified that they often marched together in parades, side-by-side.

       In 1983 when Craig was deployed to Beirut their mother was worried. Dawn felt that when

Craig was not on United States soil there could be a problem and her Mother didn’t want to discuss

her son’s deployment.




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       On October 23, 1983, Dawn was living at her parent’s home in the basement. She recalled

that her mother was watching television. Her mother was not a TV person. When Dawn came

upstairs her mother told her about the bombing in Beirut. Dawn testified that her mother watched

the news videos day and night for days. Dawn Swinson remembered that her father didn’t say a

word for days. He returned to work because he could not just sit around and watch television.

Kenneth Swinson told his daughter that he “was afraid to watch because he was afraid of what he

would find out.” The Swinson family received no information from the Marine Corps. Four or

five days after the attack the first time that Dawn recalls receiving word was a brief telephone call

from her brother Craig.

       Dawn Swinson and her father each were employed in buildings next to each other. Dawn

recalled the day when her father ran through her door at work and told her Craig was alive. Her

sister Teresa had called her father with the message that Craig had called. Dawn remembers her

father, a Marine veteran, jumping with joy at the news his son was safe.

       Dawn Swinson testified that she has seen a big change in her brother Craig’s personality

after his return from Beirut. In the twenty-three years since October 23, 1983, Craig has never

spoken to Dawn about his Beirut experiences. Before Beirut, Dawn characterized her brother as

light hearted and not serious. She testified that her brother had many friends and went out often.

Since Beirut, Dawn testified that her brother never goes out, he has lost contact with his old friends,

and he has become a loner concerned only with his family. Dawn believes he is a quieter person

and that he is unhappy. Craig’s experience brought the family closer together until the death of her

parents; now there is a block of silence.

       Dawn Swinson is proud of her brother and she becomes upset when other members of our

military are injured or die because she knows what their families are going through and it deeply




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affects her. Craig’s experience fundamentally changed the Swinson family and Dawn Swinson

believes that her brother needs to consider enrollment in an anger management program; she

believes her brother is too angry and opinionated. Dawn also believes her brother should discuss

his Beirut experiences with a medical professional and address his condition including the Post-

Traumatic Stress Disorder.

       (6)   TERESA SWINSON is Craig Swinson’s sister. She is close in age to her brother

Craig and they went to the same school for a number of years. Teresa recalled that her brother had

a large group of regular close friends. Teresa graduated from high school before Craig graduated

and she signed up for Community College. Teresa testified that her brother was searching for

something to do after high school and Teresa recalls the family discussing the Marine Corps as an

option for Craig.

       Craig enlisted in the Marine Corps after high school and the Swinson siblings pooled their

money and sent their parents to San Diego, California, to see Craig graduate from boot camp.

Teresa recalled that her father recounted the news and story of their brother’s graduation.

       The Swinson family knew about Beirut before October 1983, through the television news

coverage. Before October 23, 1983, Teresa testified that she was not aware of the tactical and

combat environment in Beirut and she did not know her brother had been shot at. On October 23,

1983, Teresa woke up and found her mother in utter panic, frantically crying. Teresa testified that

her mother didn’t eat or sleep for three days and she just waited and watched video of the Beirut

explosion while the names of the killed Marines rolled across the TV screen.

       On Thursday, the Swinson’s convinced their mother that she should return to work. She

was employed by the local McDonald’s. After receiving no word for three or four days, no word

from the Marine Corps, or Craig, Craig’s mother, father, and siblings were convinced their brother




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had been killed. On the Thursday her mother returned to work. Teresa was home and received an

overseas call from Beirut. It was her brother Craig and in a very short conversation, less than a

minute, he told her he survived and he told Teresa that he delayed his call home so that other

Marines, with families of their own, could call first. Teresa immediately ran to the McDonald’s

and told her mother, her mother then called her father and gave him the news. Teresa and her

mother celebrated in the McDonald’s and then returned home and were joined by Teresa’s father.

He was overjoyed and proud of his son and he immediately made calls to tell his network of

friends.

       When Craig came home from Beirut Teresa noticed a change in his personality; Craig and

Teresa were only separated in age by one year. When Craig returned home on leave, he was more

guarded about family, no longer wanted to “just hang-out,” his career and assignments were

important, and he was interested in what he was going to do with his life. After October 1983

Craig and his father became closer and marched in parades together. Before their father’s death

Craig used to come over to the house and play cards with his father and talk. After the Beirut

bombing Teresa’s mother was more guarded. Teresa testified that when her two younger brothers

wanted to join the Marine Corps their Mother forbid it.

       Craig has told Teresa he is proud of his service in the Marines but wishes life could have

been different. Teresa testified that there was a change in Craig since their father’s death. Before

their father died the family was close knit and everyone came home for Sunday dinner. Since their

father’s death she sees her brother only once a month.

       Teresa believes Craig Swinson suffers from Post-Traumatic Stress Disorder and she feels

her brother has significant anger problems. Teresa feels sorrow for her brother, her brother doesn’t

like doing anything, he no longer has a circle of friends, and the joy seems to have left his life.




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       (7)   WILLIAM SWINSON is Craig Swinson’s brother. Even though he is four years

younger than his brother, William Swinson remembers Craig loved sports, had a lot of friends, and

was a tough guy with an “attitude” in high school.

       Their father was an ex-Marine and their father’s military experience was a big part of the

Swinson’s family life. His father was close to the local Marine Corps community and the local

Marine recruiter was a frequent visitor to the Swinson household where Bill’s father and the

recruiter would share beers.

       William Swinson remembers his brother being assigned to Guantanamo and visiting

Turkey, Europe, Spain, and finally Lebanon. After the October 23rd attack, William remembers his

mother offered to drive him to school; this was new and strange because he always walked to

school. On the trip to school William’s mother told him about the explosion and that his brother

was at that location with the Marine Unit which was attacked. Bill couldn’t comprehend what his

mother was telling him, he was upset, and he could not go to school.

       There were four Swinson children living home on October 23rd and William Swinson

remembered that his parents were under an extreme amount of stress. Their father was feeling

guilty that he may have pushed his son into the Marines. Their father was so upset that he was not

able to even tie his shoes. William’s mother told the family that no one else was going into the

Marines. The Swinson family didn’t know if Craig Swinson was alive or dead until they received

the call from Craig some days after the bombing. Bill remembers his mother losing control and

crying almost continually until she heard Craig survived the blast. William remembers his mother

telling him that Craig survived. Bill remembers when his mother heard Craig survived she was so

happy she couldn’t think straight; she acted like she just won the lottery. The experience of not

knowing if your brother is alive or dead changed William Swinson. Later when William was




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thinking of joining the Marine Corps his Mother forbid him from enlisting and his father did not

contest his wife’s position.

       When Craig came back from Beirut he gave William a Lebanese army hat and a Marine’s t-

shirt. William has never asked Craig what happened because he knows that Craig’s memories are

too personal. William feels that when Craig wants to talk about them he will. In the twenty-three

years since the attack they have only spoken about Beirut a few times, and then the conversations

were cursory.

       William confirmed that his brother experienced a fundamental personality change after the

October 23rd attack. He describes his brother as quiet, with no friends, and extremely protective of

his wife and daughter. William agreed that his brother doesn’t socialize outside his immediate

family and Craig Swinson doesn’t even respond to his William’s efforts to socialize. Bill believes

his brother suffers from depression and that Craig has bouts of depression regularly.         Craig

Swinson has told his brother that he is going nowhere at work and William believes his brother is

afraid to make commitments. The Swinson siblings have discussed the condition of their brother in

private. They all agree that Craig was changed by his experience October 23, 1983, and those

changes continue to today. They agree that Craig was very close to his father and his father’s death

may have caused Craig further emotional hardship.            They also agree that Craig is guarded,

depressed, reserved, angry, and argumentative. William believes that his brother wants to control

his environment, limit family contacts, and avoid all stress.

       William recalled that when their Mother was sick the Swinson siblings and their families

would get together. He testified that on several occasions Craig had an anger problem with his

sisters and left the house. William related a recent event where he had just bought a house and

called his brother for two weeks and never got a return phone call. Bill had to call his brother for




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an additional four weeks before he made contact wit him. William remembers that he used to talk

to his brother almost every day and now contact is difficult and sporadic.

       Whenever there are terrorist attacks William relives his memories of October 23, 1983 and

he then goes through the same concerns he had in 1983. These are very emotional experiences for

him and he wants these attacks to stop. William testified that the 9/11 attack brought back

troubling memories of 1983 for him but it was much worse for his brother Craig.

       William said that the 20th anniversary remembrance helped his brother. Craig was able to

speak to other Beirut veterans and he learned that some are doing fine and others are in very bad

condition. Craig understands that the pain and emotional trauma of the attack affects the veteran’s

families also.

       (8)       DANIEL SWINSON is Craig Swinson’s brother and the youngest of the Swinson

children. Daniel is married with two children and he is employed by the Transportation Security

Administration as a network engineer and he is currently taking college courses. Daniel Swinson

was thirteen years of age when Craig Swinson was deployed to Beirut, Lebanon. There is a 10-

year age difference between Cydia Shaver, the oldest of the Swinson siblings, and Daniel, the

youngest.

       Daniel testified that his brother Craig liked wrestling and football. Daniel remembers going

to the gym with Craig and his friends and he recalls that Craig allowed him to tag-along as the little

brother. Daniel looked up to his brother. Daniel remembers Craig had a difficult time in high

school and he decided to go into the Marine Corps, like his father. Daniel recalled that his father

was happy that Craig went into the Marines but Daniel also testified that his mother was not happy

with the decision.




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       Daniel testified that Craig was not the touchy-feely type of brother but they were very close.

When his brother went into the Marines Daniel sent his brother music tapes. Daniel testified that

his brother hated boot camp. Daniel doesn’t remember much about Beirut but he testified that he

recalls reading a letters that Craig wrote while he was in Beirut. Daniel knew that it was a bad

place; the Swinson family watched the news on television and they were somewhat aware of the

situation. Daniel testified that he thought Beirut looked like a video game after the attack. Daniel

testified that neither his mother nor his father discussed the explosion with him but he could tell

they were worried.

       Daniel recalls that prior to the bombing he spoke to his brother William about Beirut.

Interestingly, he did not discuss the explosion with William or his father but he could tell they were

worried. Daniel spoke to his brother William before bombing and they thought their brother being

stationed in Beirut was no big deal; after all he was on a peacekeeping mission.

       On October 23, 1983, Daniel recalls seeing the newscasts and he testified that the Swinson

family watched television all day long looking for Craig. When his father was home Daniel

remembers silence, he recalls the family glued to the television and everyone being very tense.

Daniel recalled that it was a very difficult day and he remembers sitting in shock with his mother in

the living room. He remembers the phone ringing all day and he remembers the family telling

callers that they had no information. Daniel said that his Mother was very distraught and later in

the afternoon his mother told him not join the Marines, if he did she would kill him. Daniel

remembers his father making calls to his military contacts. Daniel remembers his father saying that

that there was not going to be good news.

       Daniel described his father before the Beirut bombing as a tough guy, and he remembers his

father becoming very different after the bombing. The Swinson family didn’t know where Craig




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was stationed in Beirut they knew the Unit he was with and they knew the Unit was at the BLT

Headquarters building but that is all they knew.

        Daniel testified that on Wednesday or Thursday his sister, Teresa, got a 30 second phone

call from Craig through a patchwork of connections. Craig told Teresa that he survived the attack.

When Craig came home Daniel did not ask him about Beirut; Daniel said his brother Craig had

become a “hardened person.” One year later Craig showed Daniel his Marine’s yearbook and he

pointed out all the dead Marines. Daniel Swinson does not ask his brother about his duties in

Beirut or what his brother did after the explosion. The only discussions are about the physical

characteristics of the Beirut airport.

        Daniel spoke to Marine recruiter but when the recruiter came to the house his mother would

not tolerate another son in the Marine Corps.

        Daniel is sorry for his brother and his problems and Daniel’s son always asks about his

Uncle Craig and his experiences. Daniel talks to his wife and son about Craig and Daniel has told

his son the affects the attack on the Marine barracks in Beirut had on Craig and the family. Daniel

knows this is a chunk of his brother’s life which is not discussed. Daniel believes his brother has

Post-Traumatic Stress Disorder.          He characterizes his brother as silent, serious, angry, and

introverted and he thinks his brother needs professional help.

        Daniel Swinson knows that Iran doesn’t know and doesn’t care about the affects its terrorist

attack on the Marines barracks had on the Marines and their families. Every terrorist event brings

back the memory of Beirut and the resulting emotional damage to the Swinson family and

especially Craig Swinson. Daniel Swinson testified that the 9/11 attacks, the Cole attack, and the

embassy bombings have caused pain to his family and brought back memories of the real affects of

terrorism. Daniel Swinson testified that he took his present job at TSA because of terrorism; he




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wants terrorism to stop and believes that when you stop terrorism that will stop the suffering of

everyone.

                                        CONCLUSIONS OF LAW

         (1)    Loss of Wages

         No testimony was present to the Special Master indication past loss of wages.

         (2)    Future Loss of Wages

         No testimony was presented to the Special Master to support a finding of future loss of

wages.

         (3)    Pain and Suffering

         There is evidence of extreme pain and suffering endured by Craig Swinson from

immediately after the attack to the present time. In addition, Craig Swinson has endured severe

Post-Traumatic Stress Disorder resulting from the attack on October 23, 1983, which has continues

to the present and will remain with significant affects upon Craig Swinson for the remainder of his

life. The Special Master takes judicial cognizance that the United States Life Tables published by

the National Center For Health Statistics in 2003, National Vital Statistics Reports, Vol. 54, No. 14,

April 19, 2006, sets forth the statistical life expectancy for a white male age 43 to 44 as 34.9 years.

It is noted that the continuing pain and suffering that Craig Swinson has and is experiencing is not a

life shortening type.    The Special Master concludes as a matter of law that the appropriate

compensation for Craig Swinson for his emotional injuries, including the Post-Traumatic Stress

Disorder, is $15,000,000.00 and that judgment should be entered in that amount for pain and

suffering to the date and for the remainder of his lifetime.

         (4)    Solatium




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       The Foreign Sovereign Immunities Act provides for an award of solatium consisting of

emotional injury inflicted upon the persons other than the person physically injured by the actions

of the defendants and/or their agents. As the Court noted in the Flatow, 999 F.Supp. 1 (1998), this

is an item of damages which belongs to the individual personally for the emotional injury intended

to be inflicted upon the family of the person suffering direct physical injury, including injury to the

feelings and loss of comfort and society as a result of the emotional damage inflicted upon the

person physically injured.      The unexpected quality of the occurrence may be taken into

consideration in gauging the emotional impact of those related to the person who was himself

physically injured. Jenco v. Iran, 154 F. Supp.2d 27 (2001). In this case the impact upon the

parents, brothers and sisters of Craig Swinson was profound and its duration of more than 23 years

leads the Special Master to conclude that these injuries are permanent in accordance with Estate of

Underwood v. National Credit Unit Administration, 665 A. 2d 621 (D.C. 1995). That Special

Master concludes as a matter of law that the following amounts are appropriate compensation for

this element of damages: Estate of Kenneth J. Swinson, Deceased, (father) $10,000,000.00; Estate

of Ingrid M. Swinson, Deceased, (mother) $10,000,000.00; Cydia Shaver (sister) $10,000,000.00;

Dawn Swinson (sister) $10,000,000.00; Teresa Swinson (sister) $10,000,000.00; William Swinson

(brother) $10,000,000.00, and Daniel Swinson (brother) - $10,000,000.00.



Date: August 21, 2006



                                                          S/S
                                              ______________________________________
                                                          Loraine A. Ray,
                                                          Special Master




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